             Case 3:25-mj-05218-GJL                         Document 1        Filed 06/04/25      Page 1 of 11



                                  FILED           LODGED
                                                                                  Magistrate Judge Grady J. Leupold
1                                           RECEIVED


                            Jun 04, 2025
2
                            CLERK U.S. DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT TACOMA
3                  BY                                   DEPUTY



4
5
6
7                                UNITED STATES DISTRICT COURT FOR THE
                                   WESTERN DISTRICT OF WASHINGTON
8                                            AT TACOMA
9
10
      UNITED STATES OF AMERICA,                                               CASE NO. MJ25-5218
11
                                   Plaintiff,
12                                                                            COMPLAINT for VIOLATION
                            v.
13
14    CHARLES ETHAN FIELDS and                                                18 U.S.C. §§ 2111, 113(a)(6), 641, 7(3), and
15    LEVI AUSTIN FRAKES,                                                     2
16                                Defendants.
17
18
            BEFORE Magistrate Judge Grady J. Leupold, United States Magistrate Judge,
19
     United States Courthouse, Tacoma, Washington, the undersigned complainant being duly
20
     sworn states:
21
                                                                 COUNT ONE
22
                                                                  (Robbery)
23
            On or about June 1, 2025, at Joint Base Lewis-McChord, in the special maritime
24
     and territorial jurisdiction of the United States, and within the Western District of
25
     Washington, CHARLES ETHAN FIELDS and LEVI AUSTIN FRAKES, by force and
26
27
     Complaint - 1                                                                         UNITED STATES ATTORNEY
                                                                                           1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                                            TACOMA, WASHINGTON 98402
     USAO2025R00688                                                                                253- 428-3800
            Case 3:25-mj-05218-GJL               Document 1     Filed 06/04/25     Page 2 of 11




 1 violence and by intimidation, did take and attempt to take from the person and presence
 2 of Victim 1, property of value belonging to the United States Army.
 3          All in violation of Title 18, United States Code, Sections 2111, 7(3), and 2.
 4                                                COUNT TWO
 5                                                  (Assault)
 6          On or about June 1, 2025, at Joint Base Lewis-McChord, in the special maritime
 7 and territorial jurisdiction of the United States, and within the Western District of
 8 Washington, CHARLES ETHAN FIELDS and LEVI AUSTIN FRAKES did assault
 9 Victim 1, such assault resulting in serious bodily injury.
10          All in violation of Title 18, United States Code, Sections 113(a)(6), 7(3), and 2.
11                                               COUNT THREE
12                                        (Theft of Government Property)
13          On or about June 1, 2025, at Joint Base Lewis-McChord, in the special maritime
14 and territorial jurisdiction of the United States, and within the Western District of
15 Washington, CHARLES ETHAN FIELDS and LEVI AUSTIN FRAKES, willfully and
16 knowingly did steal and purloin, and attempt to steal and purloin, four ballistic plates and
17 other military hardware, of a value exceeding $1,000, of the goods and property of the
18 United States.
19          All in violation of Title 18, United States Code, Sections 641, 7(3), and 2.
20
21          I, Christopher J. Raguse, a Special Agent with the Department of the Army
22 Criminal Investigation Division (DACID) at Joint Base Lewis-McChord, Washington
23 (JBLM), having been first duly sworn, hereby depose and state as follows:
24                         AFFIANT BACKGROUND & INTRODUCTION
25          1.       I have been an accredited Federal Special Agent with the DACID since
26 January 2022. I received my law enforcement certification in December 2021 upon
27
     Complaint - 2                                                          UNITED STATES ATTORNEY
                                                                            1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                             TACOMA, WASHINGTON 98402
                                                                                    253- 428-3800
            Case 3:25-mj-05218-GJL         Document 1     Filed 06/04/25       Page 3 of 11




 1 completion of the US Army Criminal Investigation Division Special Agent Course, a
 2 Federal Law Enforcement Training Center (FLETC) accredited course.
 3          2.       In 2022, I attended 160-hours of additional course work focused on
 4 Domestic Violence Intervention, Child Abuse Prevention and Investigative Techniques,
 5 and Structured Child Interviews which outlined the National Institute of Child Health and
 6 Human Development (NICHD) child interview guidelines.
 7          3.       In 2023, I completed 240-hours of additional course work focused on
 8 Advanced Crime Scene Investigative Techniques, Protective Services, and Special
 9 Victims Capability Investigations. During my course of employment with the above
10 agency, I have handled numerous criminal investigations. Those investigations have
11 included deaths, assaults, child assaults, and crimes against persons.
12          4.       The facts set forth in this Complaint are based on the following: my own
13 personal knowledge; knowledge obtained from other individuals during my participation
14 in this investigation, including other law enforcement officers; interviews of witnesses;
15 my review of records related to this investigation; communications with others who have
16 knowledge of the events and circumstances described herein; and information gained
17 through my training and experience.
18          5.       Because this Complaint is submitted for the limited purpose of establishing
19 probable cause, it does not set forth each and every fact that I or others have learned
20 during this investigation. I have set forth only those facts that I believe are
21 relevant to the determination of probable cause to believe that CHARLES ETHAN
22 FIELDS and LEVI AUSTIN FRAKES committed the crimes of Robbery, Assault, and
23 Theft of Government Property, in violation of Title 18, United States Code, Sections
24 2111, 113(a)(6), 641, 7(3), and 2.
25          6.       This Complaint is being presented electronically pursuant to Federal Rules
26 of Criminal Procedure 4.1 and 41(d)(3).
27
     Complaint - 3                                                      UNITED STATES ATTORNEY
                                                                        1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                         TACOMA, WASHINGTON 98402
                                                                                253- 428-3800
            Case 3:25-mj-05218-GJL        Document 1      Filed 06/04/25     Page 4 of 11




 1                               STATEMENT OF PROBABLE CAUSE
 2                   At about 8:05 PM on June 1, 2025, CHARLES ETHAN FIELDS and LEVI
 3 AUSTIN FRAKES entered JBLM through the Liberty Gate. Scans of their identification
 4 documents were approximately two seconds apart, indicative of them being in the same
 5 vehicle while entering JBLM. Surveillance footage shows a Toyota 4Runner entering
 6 JBLM through the gate when FIELDS and FRAKES’ identification documents were
 7 scanned. A records check identified a 1997 Toyota 4Runner bearing Washington license
 8 plate CFN6396 is registered to FRAKES. Records also show FIELDS has a 4Runner
 9 registered in his name.
10                   About an hour later, at 9:00 PM, Victim 1, a member of the United States
11 Army, entered the Charlie Company – 75th Ranger Central Operations Facility (“the
12 Ranger compound”), located on JBLM in the exclusive jurisdiction of the United States.
13 As Victim 1 would later explain, upon entering the facility, Victim 1 encountered two
14 unknown persons inside. The two were partially masked and were wearing Ranger
15 physical fitness attire. Victim 1 questioned the two persons about their presence in the
16 compound and observed U.S. Army property clustered around them. Victim 1 directed
17 the two persons to pull their masks down, which they did. During continued questioning
18 from Victim 1 about the two persons’ presence in the compound, a fight ensued, at which
19 point one of the unknown persons brandished a hammer and used it to assault Victim 1,
20 striking Victim 1 in the head and torso, causing bodily harm and a large amount of blood
21 loss. Victim 1 was able to fight the attackers and gain control of the hammer.
22 Subsequently, one of the unknown persons then brandished a knife. At that point, Victim
23 1 surrendered. The unknown persons fled the building, with U.S. Government property,
24 and then fled the Ranger compound. Surveillance video captured the unknown persons
25 fleeing the area on foot while carrying rucksacks. While fleeing, the unknown persons
26 dropped one rucksack outside the building, and then a second rucksack near the main
27
     Complaint - 4                                                    UNITED STATES ATTORNEY
                                                                      1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                       TACOMA, WASHINGTON 98402
                                                                              253- 428-3800
            Case 3:25-mj-05218-GJL        Document 1   Filed 06/04/25     Page 5 of 11




1 gate of the compound. During the assault, one of the unknown persons dropped a hat,
2 which had the name “FIELDS” handwritten on the inside. Surveillance photographs of
3 the two unknown persons going to and from the Ranger compound where the assault and
4 theft occurred appear below, as does a photograph of the hat.
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
     Complaint - 5                                                 UNITED STATES ATTORNEY
                                                                   1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                    TACOMA, WASHINGTON 98402
                                                                           253- 428-3800
             Case 3:25-mj-05218-GJL        Document 1     Filed 06/04/25      Page 6 of 11




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
                      Military Police responded just after 10 PM. Victim 1 was subsequently
11
     transported to Madigan Army Medical Center for evaluation of injuries. The photographs
12
     below were taken while Victim 1 was at the hospital.
13
14
15
16
17
18
19
20
21
22
23                    Department of the Army Criminal Investigation Division (DACID) special
24 agents responded to the Ranger compound at about 9:00 AM the next morning, June 2,
25 2025. Investigators conducted a crime scene examination and collected a cut piece of a
26 lock and a bolt cutter as evidence. I believe the two unknown persons had likely used the
27
      Complaint - 6                                                    UNITED STATES ATTORNEY
                                                                       1201 PACIFIC AVENUE, SUITE 700
      United States v. Fields and Frakes
                                                                        TACOMA, WASHINGTON 98402
                                                                               253- 428-3800
            Case 3:25-mj-05218-GJL         Document 1     Filed 06/04/25      Page 7 of 11




 1 bolt cutter to gain access into the facility. DACID also collected disposable face masks
 2 and latex gloves from the scene. Investigators identified blood on the rucksack bag that
 3 the two persons had dropped outside the compound; some contents of the rucksack had
 4 spilled onto the ground and DACID determined that the two unknown persons had
 5 attempted to steal approximately $14,000.00 of U.S. Government property, most of
 6 which was recovered at the scene. That property consisted of ballistic helmets, rifle
 7 plates, and communications equipment. The ballistic plates alone are valued at
 8 approximately $6,200.
 9                   At about 12:00 PM, DACID conducted a records check of FIELDS (the
10 name handwritten on the inside of the hat found at the crime scene) and identified him as
11 having entered JBLM at 8:05 PM the night before (with FRAKES). Investigators also
12 learned FIELDS had a listed residence with the Washington Department of Licensing in
13 Lacey, Washington. FRAKES also has a Washington driver’s license with a registered
14 address at the same residence in Lacey. A record check of personnel records maintained
15 by the Department of Defense showed FIELDS and FRAKES residing at the same
16 address in Lacey. DoD records also showed FIELDS and FRAKES previously served in
17 the military.
18                   DACID agents then conducted surveillance at the Lacey address and
19 observed a black Toyota 4Runner arrive at the residence and park in the driveway at
20 approximately 12:45PM. The vehicle was identified as being registered to FIELDS.
21                   Other agents interviewed Victim 1 that afternoon. During the interview,
22 Victim 1 stated that had asked around his unit about the name FIELDS, based on the hat
23 that was left at the scene. Victim 1 learned that FIELDS had been assigned to the Ranger
24 Battalion around 2021 and was shown a photo of FIELDS by other persons in his unit.
25 From that photo, Victim 1 identified FIELDS as one of the unknown persons who had
26 assaulted him the night before.
27
     Complaint - 7                                                     UNITED STATES ATTORNEY
                                                                       1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                        TACOMA, WASHINGTON 98402
                                                                               253- 428-3800
            Case 3:25-mj-05218-GJL        Document 1     Filed 06/04/25      Page 8 of 11




 1                   Later that day, DACID agents requested and obtained a search warrant
 2 from Thurston County Superior Court allowing the search of FIELDS’ and FRAKES’
 3 persons, their residence, and vehicles. State and federal law enforcement officers
 4 executed the warrant late in the evening on June 2, 2025, and seized numerous items of
 5 evidence, including, but not limited to, approximately 35 weapons, including rifles,
 6 pistols, short-barreled rifles, and an MG32 machine gun; weapons suppressors (i.e.,
 7 silencers), some of which appear to have been 3D-printed; military property, including
 8 night vision devices, ballistic plates and plate carriers, and helmets; military munitions;
 9 and military explosives such as blasting caps, flashbangs, and smoke grenades. During
10 the search of the residence, law enforcement observed numerous Nazi/white supremacy
11 memorabilia, murals, and literature in every bedroom and near several stockpiles of
12 weapons and military equipment. Agents also seized personal electronic devices, clothing
13 believed to have been worn during the assault on Victim 1, and approximately $24,000 in
14 cash. Agents were able to identify some of the seized items as military property due to
15 the serial numbers and other markings on the items. I know, based on my training and
16 experience, that some of the military items agents recovered are unlawful to possess
17 without unique permission from the DoD and some of the items are so restricted that
18 active duty military members are not permitted to have or store them in their personal
19 residences. Photos of some of the seized evidence (including a pair of boots with
20 bloodstains on them) appear on the following page.
21
22
23
24
25
26
27
     Complaint - 8                                                    UNITED STATES ATTORNEY
                                                                      1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                       TACOMA, WASHINGTON 98402
                                                                              253- 428-3800
            Case 3:25-mj-05218-GJL        Document 1   Filed 06/04/25     Page 9 of 11




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
     Complaint - 9                                                 UNITED STATES ATTORNEY
                                                                   1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                    TACOMA, WASHINGTON 98402
                                                                           253- 428-3800
             Case 3:25-mj-05218-GJL        Document 1   Filed 06/04/25    Page 10 of 11




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
                      Agents provided FIELDS and FRAKES with their Miranda warnings, and
23
     one of the men agreed to speak with agents. In a recorded statement, the man
24
     acknowledged both of them (FIELDS and FRAKES) had been stealing military property
25
     from the Ranger compound for about two years, to later sell or trade. The man admitted
26
27
      Complaint - 10                                                UNITED STATES ATTORNEY
                                                                    1201 PACIFIC AVENUE, SUITE 700
      United States v. Fields and Frakes
                                                                     TACOMA, WASHINGTON 98402
                                                                            253- 428-3800
            Case 3:25-mj-05218-GJL        Document 1    Filed 06/04/25      Page 11 of 11




 1 both of them were on JBLM at the Ranger compound on June 1 to steal additional items,
 2 and a fight ensued with Victim 1.
 3                   FIELDS and FRAKES were arrested and booked into Thurston County Jail.
 4 At a hearing in Thurston County Superior Court on June 3, 2025, a judge set bail for each
 5 at $500,000 and ordered that, if released, FIELDS and FRAKES were to be under house
 6 arrest with an ankle monitor and to have no contact with each other.
 7                   Based on my training and experience as a DACID Special Agent and the
 8 information contained in this Affidavit, I submit there is probable cause to believe that
 9 CHARLES ETHAN FIELDS and LEVI AUSTIN FRAKES engaged in and attempted to
10 engage in the offenses of Robbery, Assault, and Theft of Government Property, all within
11 the special and maritime jurisdiction of the United States (i.e., JBLM) in violation of
12 Title 18, United States Code, Sections 2111, 113(a)(6), 641, 7(3), and 2.
13                                             RAGUSE.CHRIS Digitally signed by
                                                            RAGUSE.CHRISTOPHER.10
14                                             TOPHER.10675 67543633
                                                            Date: 2025.06.04 09:40:59
                                               43633        -07'00'
15                                             _____________________________
                                               CHRISTOPHER J. RAGUSE
16
                                               Special Agent, Department of the Army,
17                                             Criminal Investigation Division
18
19          Based on the Complaint sworn to before me, and subscribed in my

20 presence, the Court hereby finds that there is probable cause to believe the Defendants
21 committed the offenses set forth in the Complaint.
22          Dated this 4th day of June 2025.

23
24
25                                             GRADY J. LEUPOLD
26                                             United States Magistrate Judge

27
     Complaint - 11                                                   UNITED STATES ATTORNEY
                                                                      1201 PACIFIC AVENUE, SUITE 700
     United States v. Fields and Frakes
                                                                       TACOMA, WASHINGTON 98402
                                                                              253- 428-3800
